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                           Case 3:21-cv-00055-DCG Document 35 Filed 02/28/23 Page 1 of 17                  FILED
     February 27, 2023                                                                               February 28, 2023
                                                                                                    CLERK, U.S. DISTRICT COURT
  CLERK, U.S. DISTRICT COURT                                                                        WESTERN DISTRICT OF TEXAS
  WESTERN DISTRICT OF TEXAS
                                                                                                          Myrna Gallegos
        Javier Martinez
BY:_______________________________
                                           IN THE UNITED STATES DISTRICT COURT
                                            FOR THE WESTERN DISTRICT OF TEXAS
                                                                                                 BY: ________________________________
                                                                                                                         DEPUTY
                        DEPUTY
                                                     EL PASO DIVISION

                 ALEJANDRO HERNANDEZ,            §
                                                 §
                                Plaintiff,       §
                                                 §
                 v.                              §
                                                 §                   CAUSE NO. 3:21-CV-00055-DCG
                 EL PASOANS FIGHTING HUNGER,     §
                 JOSE “ABE” GONZALEZ,            §
                 SUSAN E. GOODALL, and JOHN DOE. §
                                                 §
                                Defendants       §

                                     PLAINTIFF’S PROPOSED FIRST AMENDED COMPLAINT

                 TO THE HONORABLE JUDGE OF SAID COURT:

                         Now Comes, ALEJANDRO HERNANDEZ (hereinafter the "Plaintiff"), bringing cause

                 of action against Defendants, individually under 42 U.S.C. § 12181, The Americans With

                 Disabilities Act, which Defendants willfully violated and are still not compliant. Plaintiff also

                 brings a supplemental state cause of action for assault. In support thereof Plaintiff respectfully

                 shows the Court as follow:

                                                            PARTIES

                         1.          Plaintiff, ALEJANDRO HERNANDEZ, is an individual, resides in El Paso

                 County, Texas, and qualifies as an individual with disabilities as defined by the Americans with

                 Disabilities Act.

                         2.          Defendant, EL PASOANS FIGHTING HUNGER, (hereinafter “Defendant

                 EPFH”) is Texas Nonprofit Domestic Corporation, doing business in El Paso County, Texas, and

                 operates a place of public accommodation as defined by in Title III of the Americans with

                 Disabilities Act (ADA). Defendant EPFH may be served via its registered agent, Abe Howard



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Gonzalez, also known as Jose “Abe” Gonzalez, located at 221 N Kansas, Ste 1700, El Paso, TX

79901.

         3.    Defendant, JOSE “ABE” GONZALEZ, (hereinafter “Defendant Gonzalez”) is an

individual, that operates a place of public accommodation in El Paso, Texas, as defined by in

Title III of the Americans with Disabilities Act (ADA). Defendant Gonzalez may be served at

221 N Kansas, Ste 1700, El Paso, TX 79901.

         4.    Defendant SUSAN E. GOODALL, (hereinafter “Defendant Goodall”) is an

individual, that operates a place of public accommodation in El Paso, Texas, as defined by in

Title III of the Americans with Disabilities Act (ADA). Defendant Goodall may be served at

9541 Plaza Cir, El Paso, TX 79927.

         5.    Defendant JOHN DOE, (hereinafter “Defendant Doe”) is an individual that was

employed by Defendant EL PASOANS FIGHTING HUNGER, and may be served at 9541 Plaza

Cir, El Paso, TX 79927.

                                 JURISDICTION AND VENUE

         6.    This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331, and

Title III of the Americans with Disabilities Act, 42 U.S.C. § 12181, et seq. This Court has

supplemental jurisdiction over Plaintiff’s state law claim pursuant to 28 U.S.C. §1367.

         7.    Venue is proper in this judicial district pursuant to 28 U.S.C. §

1391(b)(2) because the events giving rise to Plaintiff’s claim occurred in this judicial district.

                                    STATEMENT OF FACTS

         8.    Defendant EPFH, a food bank, is a Texas Nonprofit Domestic Corporation with

its stated mission "to combat the hunger crisis in our region by strategically procuring and

distributing nutritious food through community partners...because no one should go hungry."



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Every year, Defendant EPFH receives millions of dollars of aid from among other sources,

among them being, the United States Department of Agriculture (USDA).

       9.      The USDA promulgates a nondiscriminatory policy which prohibits any of its

programs, like Defendant El Pasoans Fighting Hunger from discriminating in providing food or

services to the general public on account of, among other things, disability.

       10.     Defendants Gonzalez and Goodall, the policy makers of the Defendant EPFH,

promulgate policy decisions regarding the operations of the many food banks throughout the

County of El Paso, Texas.

       11.     This action arises from the Defendants’ arbitrary and capricious policy that

violates Title III of the ADA, by promulgating policy the requires all customers at their “walk

up” location to wear face coverings to obtain food, with no exception for customers who cannot

wear a face covering for medical reasons. Customers, such as Plaintiff, who cannot wear face

coverings for medical reasons at the “walk up” food bank, are denied access to food at the food

bank operated by Defendants. The mask covering requirement is in direct contradiction to the

State of Texas' and City of El Paso's mask orders and the guidelines published by the United

States Center for Disease Control.

       12.     Plaintiff is a person with a disability who has physical and/or mental conditions,

including asthma exacerbated by breathing difficulties caused by a deviated septum, as well as

severe PTSD with chronic anxiety and panic triggers that hinder breathing abruptly as well as

other normal daily functions which substantially limit most major life activities with distress.

Plaintiff cannot wear the face covering without experiencing difficulty breathing and severe

anxiety coupled with panic triggers.




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       13.     The events complained of occurred at the walk-up location at EPFH Distribution

West, located at 5300 Doniphan, El Paso, TX, 79932, on January 10, 2021 and January 13, 2021.

Plaintiff did at this location encounter the denial of equal access, received physical assault when

pushed by Defendant John Doe, an attendant working for the Defendants, experienced shaming

in the form of name calling and being publically labeled with demeaning, humiliating and

degrading language and treatment from Defendants and their agents at the food bank. Defendants

discriminated against him on the sole basis of his disability. For example, on or about January

10, 2021, Plaintiff was physically and repeatedly pushed out of the building by Defendant John

Doe, a male staff member at the food bank location made the subject of this lawsuit. Plaintiff

informed the Supervisor at the time, Jackie Bracamontes, who stated only, that she would “look

into it”. Ms. Bracamontes agreed to accommodate Plaintiff on that day however, on the

following occasion it was Ms. Bracamontes herself who again denied Plaintiff without

explaining her reason or contradiction.

       14.     In addition to the foregoing, Plaintiff has made a good faith effort to mitigate

damages and avoid litigation, by contacting governing personnel at El Pasoans Fighting Hunger

to no avail. On more than one occasion Plaintiff spoke to the assistant of the CEO, Ms. Goodall

and to the assistant for Tom Cihonski, COO, including sending emails to him personally to

which he never responded by phone or email. His assistant Marina Hernandez admitted to

knowledge of the medical exceptions in the City and State Orders stating that their policy did

have allowances for the same. She made apologies but no changes came from the conversations.

Next, Plaintiff spoke to Ian, a counterpart for Ms. Bracamontes at the same location, who said he

only followed orders and was not trained specifically for the issues of ADA nor was he informed

of the City or State Orders. Ian too was made aware of the physical assault on Plaintiff. Plaintiff



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was contacted by Defendant Gonzalez after being notified by Ms. Bracamontes of Plaintiff’s

intention to seek legal remedy for noncompliance with the ADA. In a telephone conversation,

Defendant Gonzalez denied any wrongdoing from the onset and requested that Plaintiff provide

him in writing with what Plaintiff was claiming exempted him from wearing a face covering, so

that he could take it to “the powers that be.” Plaintiff and Defendant Gonzalez then commenced

a series of phone conversations and email communications. See 14 pages of Emails, individually

numbered, hereto attached as Exhibit 1, and adopted hereinafter by reference.

       15.     In an email dated January 15, 2021, Plaintiff attached the Governor's Executive

Order No. GA-29 and the City's Sixth Health Directive, relating to the use of face coverings

during the COVID-19 disaster. Ex. 1, pp. 1-2. Plaintiff related to Mr. Gonzalez, the details of

the denials experienced, the assault, the harassment, disparaging treatment, the contradictions in

policy and the ineffectiveness of the home delivery option Plaintiff had experienced and thus

requested a reasonable accommodation of “curb side service” ending his email with

“[u]ltimately, my goal is to reach a sensible solution to this real problem and avoid any prospect

of litigation and court intervention.” Id.

       16.     Mr. Gonzalez’ response email is dated January 22, 2021, at 2:45pm. First, as to

the name and address which Plaintiff had used to register for home delivery, Defendant Gonzalez

said inexplicably that “neither of those is accurate.” Ex. 1, p. 3. Plaintiff was puzzled by this

statement since that is in fact his name and that was his address (at the time), as evinced by

Plaintiff’s name on this legal complaint, further Plaintiff had previously explained to Defendant

Gonzalez via a telephone conversation that despite having signed up for home delivery more

than once, the home delivery system had been ineffective or delayed since November of 2020.




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During that phone conversation, Mr. Gonzalez conceded that there were “problems” with the

home delivery system; that “many deliveries have not been made.”

       17.     However in a different email, Defendant Gonzalez addressed the “problems” with

home delivery stating again “The Food Bank does not have your name or address for home

delivery, so that would explain why it is not working.” In this way, Mr. Gonzalez ignored the

fact that Plaintiff had already communicated to him that Plaintiff was using his correct name and

address. Defendant Gonzalez continued to dismiss all facts presented to him, including the

assault, the contradictions of their policies, and instead said the food pantry did not have

Plaintiff’s name. This alone, according to Mr. Gonzalez became the new reason why the home

delivery was not working. In another email, Defendant Gonzalez proceeded to outline three

accommodations: 1) wear a face shield; 2) home delivery; and, 3) drive to a different location of

public accommodation to obtain food via a drive through where Defendant Gonzalez says that

Plaintiff would not be required to wear a face covering while in his vehicle. Ex. 1, p. 3.

       18.     Plaintiff replied to Mr. Gonzalez’ email the same day at 5:45pm, stating that the

face shield was not a reasonable accommodation because Plaintiff could not wear a face shield

due to his disability, and further it did not serve the purpose for which it was proposed as it was

not recommended by the CDC, the WHO, the State, and the City. Ex. 1, p. 4.           At this point,

Plaintiff, had previously informed Defendant Gonzalez over the phone that he had registered for

the home delivery program on two previous occasions, Mr. Gonzalez, had himself already

admitted that there were “problems” with the home delivery system and that many “deliveries

have not been made.” Also, Mr. Gonzalez had admitted that Plaintiff’s name and address was

not even in the home delivery system, despite the fact Plaintiff had previously registered his

address for home delivery twice. Id., pp. 3-4. Plaintiff explained that driving to another place of



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public accommodation was not a reasonable accommodation since Mr. Gonzalez assumed that

Plaintiff owned a vehicle (he does not) to drive to another location. Id. Plaintiff ended his email

with “[t]he accommodation you offer imposes unreasonable hardships, is not reasonable and

places people with disabilities at a disadvantage.” Id.

       19.     On January 23, 2021, at 7:29am, Defendant Gonzalez emailed Plaintiff starting

with “I’m sorry you feel that way. Will you allow the food bank to register you for home

delivery at that address?” Ex. 1, p. 5. Then Mr. Gonzalez stated that he checked and ascertained

through public records, on his own volition, that Plaintiff was not the registered owner of the

property when he registered for home delivery. Id. Without giving any explanation as to the

nature of the inquiry or the relevance of home ownership as it pertained to the home delivery

service, Mr. Gonzalez ended his email by asking Plaintiff: “Is that your house?” Id.

       20.     Plaintiff responded the same day at 12:30pm. Plaintiff asked Defendant Gonzalez

what being “the registered owner of the house, have to do with registering for home delivery?”

Ex. 1, p. 6. Plaintiff informed Mr. Gonzalez that he had talked to Yvette Riddick and Karmela

Galicia (employees of Defendants) who both admitted there were delays in delivering food. Id.

Again, Plaintiff pointed out that the fact his name and address was not registered, although

Plaintiff previously registered his name and address twice, “just proves my point… So no, please

don’t sign me up for a failed home delivery program.” Id. In this email Plaintiff goes on to

inform Defendant Gonzalez that the ADA requires that he be allowed to get food without a face

covering “onsite but without having to enter the building.” Id. Plaintiff ended with:

       “I would rather you graciously provide the reasonable accommodation of curb
       side pickup. It’s not a novel concept these days. It would be quick and easy to
       do. Social distancing can be maintained because it’s outdoors. That would be
       convenient to me and less burdensome to you, yet be compliant with the ADA.
       Ultimately I want to avoid having to go into litigation to get this worked out.”



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       21.     In an email sent on January 23, 2021, at 2:12pm, Plaintiff in “good faith” attached

a link to the USDA Nondiscrimination Statement. Ex. 1, p. 7. Plaintiff again stated his intent

“to resolve this dispute without the necessity of litigation and court intervention.” Having not

received a response from Defendant Gonzalez, Plaintiff wrote another email on January 29,

2021, reminding Gonzalez that Plaintiff had not had “access to food at the Doniphan location for

over a month now.” Ex. 1, p. 8.

       22.     In an email dated February 1, 2021, Mr. Gonzalez again rested on the

accommodations outlined in prior emails: 1) wear a face shield; 2) home delivery; and, 3) drive

to a different location of public accommodation to obtain food via a drive through where

Defendant Gonzalez says that Plaintiff would not be required to wear a face covering while in his

vehicle. In this way, Mr. Gonzalez continued ignoring the outlined reasons provided by Plaintiff

explaining why those three options were not reasonable accommodations. Ex. 1, p. 9. One, the

Plaintiff cannot wear a face shield due to his disability; two, home delivery has proven

ineffective; and three, Plaintiff does not own a vehicle to drive to other sides of town.

       23.     Callously, Mr. Gonzalez cynically pointed out a typo in Plaintiff’s proposed ADA

complaint. Id. Plaintiff responded on February 3, 2021, telling Mr. Gonzales about the “mockery

and insensitivity with which you attended to the situation demonstrates how disconnected the

organization is from its initial purpose.”      Ex. 1, p. 10. The remainder email exchanges

demonstrate that there was a breakdown in communications, which Plaintiff ultimately attributes

to Defendant Gonzalez because he failed to properly address the issues Plaintiff was bringing

before him. Ex. 1, pp. 11-14. For example, Mr. Gonzalez never investigated the act of his

employee, Defendant John Doe, pushing Plaintiff over the mask. Mr. Gonzalez never addressed

the issues Plaintiff told him about why the accommodations being offered were not reasonable:



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not being able to wear the face shield due to disability, the defective home delivery program, and

not having a vehicle to access the drive through locations, and why those avenues were not

reasonable accommodations.       Despite Plaintiffs objections, Mr. Gonzalez stated that the

accommodations being offered, despite their drawbacks, were “good enough” and that they

would continue to require the wearing of face masks at their food distribution centers.

        24.    With no genuine consideration Defendant Gonzalez actually further abused his

authority when violating Plaintiff’s privacy by making public searches about Plaintiff to

determine whether he was the property owner of the residence where he lived at the time and any

vehicle ownership, none of which is required information for food distribution. Plaintiff was

never informed of such a search to take place, never gave consent for personal information to be

sought out nor did Plaintiff waive any right to general disclosure. In this way, Defendant

Gonzalez aggravated the discrimination against Plaintiff, by singling him out for personal

questions about assets or the lack of, not asked of any other, non-disabled person trying to get

food.

        25.    Defendant Gonzalez not only was unable to rectify the adverse consequences of

Plaintiff being placed at a disadvantage because of his disability at the location subject to this

suit, Defendant Gonzalez escalated the matter as if by reprisal when violating Plaintiff’s privacy

with unnecessary inquiries and with little to no moral compass of his unethical personal

practices.

        26.    Defendant Gonzalez’s callous indifference to an individual with less opportunity,

than himself, creates an adverse effect that entails more than just a refusal to provide a

reasonable accommodation. Defendant Gonzalez was made aware that Plaintiff was physically

pushed over the mask, and had communicated with other staff members of the EPFH distribution



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chain; Mr. Gonzalez was given multiple facts and statements via phone conversations and

emails, of which he could take note to engage in a “good faith interactive process” on behalf of

EPFH. Instead Defendant Gonzalez availed himself of a public records search to scrutinize and

later attempt to embarrass Plaintiff personally, inquiring into Plaintiff’s home and vehicle

ownership, without communicating to Plaintiff that this would be done or disclosing the need to

inform himself of such information. This response from Defendant Gonzalez after he was

informed of the flawed home delivery system, places Plaintiff in an unequal status by subjecting

him to a deeper probe into personal information, than any other person, in order to obtain any

benefits being offered. Wherefore, it is clear now that without the timely intervention of the

Court this callous indifference may escalate to simply boundless privilege that will certainly

promulgate further injury to those in need of services of this organization. The discrimination

passes from speculative to an actual and imminent threat of further suffering a concrete and

particularized injury-in-fact through reprisal or retention from Defendants to Plaintiff because

the challenged the conduct and was met with a misusage of power by Defendant Gonzalez.

       27.     Plaintiff has suffered and will continue to suffer direct and indirect injury as a

result of the Defendants’ moral compasses gone awry. Discrimination compromises the ethical

capacities of any organization when the leadership positions hold a high degree of confidence in

their own judgment as with Defendants mentioned herein. Defendants should be compelled to

comply with the requirements of the ADA to rectify their conduct as they are not above the long

established laws.

       28.     Defendants operate a place of public accommodation as defined by the ADA and

the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104, at the real property, that

is the physical location, where Defendants operate the food bank. Defendants are responsible for



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complying with the obligations of the ADA. The place of public accommodation that the

Defendants operated and is the subject to this lawsuit is located at the “walk-up” food bank, at

EPFH Distribution West, located at 5300 Doniphan, El Paso, TX, 79932 but is not limited to the

scope of the EPFH distribution locations, it is in fact only a satellite location not owned by EPFH

agency in and of itself but currently marketed for lease by the actual owner.

       29.     Plaintiff has a realistic, credible, existing and continuing threat of discrimination

from the Defendants’ non-compliance with the ADA with respect to the food pantry they operate

as described but not necessarily limited to the allegations in this Complaint. Plaintiff has

reasonable grounds to believe that he has suffered due to the moral blinders of this organization

“gone wrong” and will continue to be subjected to discrimination in violation of the ADA by the

Defendants. Defendants must operate without engaging in misleading and unlawful conduct

when persons such as Plaintiff look to avail themselves of the food available at such food bank

without fear of discrimination. Perceptions of unfairness and a lack of commitment to ethical

standards by those operating this charitable organization is the root cause of the discrimination

and ADA violations for the disabled.

       30.     The Defendants have discriminated, and continue to discriminate, against the

Plaintiff in violation of the ADA by, inter alia, denying access to food to Plaintiff because he

cannot wear a face covering because of a disability, and by exposing and submitting Plaintiff to

discrimination, physical pushing, shaming, degradation, unnecessary probing into Plaintiff’s life,

and demeaning behavior by Defendants’ staff and employees, because of his disability

       31.     The Defendants all lack accountability for collective decision making, they have

discriminated, and continue to discriminate, against the Plaintiff by denying him access to full

and equal enjoyment of the goods, services, facilities, privileges, advantages and/or



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accommodations of its place of public accommodation in violation of 42 U.S.C. 12181 et seq and

28 CFR 36.302 et seq, and very likely denying Plaintiff food because he reported the assault

against his person, pointed out the contradictions and failed services while also questioning

Defendants’ policies. Further, Defendants apportion their duties in a way that allows daily

decision makers to behave irrespective of laws and federal regulations since the channels for

expressing concern from the public are inadequate. Defendants continue to discriminate against

the Plaintiff by making excuses for unreasonable modifications in policies, when failing to train,

and in violating practices and procedures, since such modifications are necessary to afford all

offered goods, services, facilities, privileges, advantages or accommodations to individuals with

disabilities; and by failing to take such efforts that may be necessary to ensure that no individual

with a disability is excluded, denied services, segregated or otherwise treated differently than

other individuals who are not disabled.

       32.      Instead of providing persons that cannot wear a face covering because of

disabilities with a reasonable accommodation, Defendants refuse to provide food altogether.

Defendants promulgate a policy that instructs persons who cannot wear a face covering because

of a disability to sign up for a failed home delivery system that deprived Plaintiff of food for

months.      Plaintiff was told that he could register for home delivery as a reasonable

accommodation. Plaintiff did register for home delivery of food in November of 2020, and only

received food once since that time.

       33.      Thus, the home delivery program does not provide persons who cannot wear face

coverings because of disabilities a reasonable accommodation to get food. Plaintiff informed

Defendant Gonzalez about this fact. Mr. Gonzalez agreed that there were problems with the

home delivery program and admitted that many deliveries had not been made. Mr. Gonzalez



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also informed Plaintiff that his name and address were not registered for the home delivery

program although by this time, Plaintiff had registered for the home delivery program twice.

Yet, despite the obvious ineffectiveness of the home delivery program, Defendant Gonzalez

stated that the accommodations being offered, despite their drawbacks were "good enough" and

that they would continue to require the wearing of face masks at their food distribution centers.

Plaintiff contends he does not have to submit to an accommodation being offered that has been

proven in practice to be ineffective unreasonable.                       Plaintiff requested a reasonable

accommodation of curb side service1, but Defendants refused to provide this accommodation.

                              Cause of Action – Violation of Title III of the ADA

        34.      The ADA expressly prohibits, among other things, discrimination on

the basis of disability in the full and equal enjoyment of the goods, services,

facilities,   privileges,    advantages,      or     accommodations         by     any   person     who      owns,

leases, (or leases to), or operates a place of public accommodation. Under the

terms of the ADA, discrimination includes a failure to provide services to a

disabled      person    to   the    extent    that   such     services     are     provided    to   non-disabled

persons. The ADA requires that goods, services, facilities, privileges, advantages,

and accommodations be afforded to an individual with a disability in the most

integrated setting appropriate to the needs of the individual.

        35.      Title III of the ADA, which applies to public accommodations such as

the food bank open to the general public operated by Defendants, establishes the general rule that

no                     individual                    shall                    be                    discriminated

against on the basis of a disability in the full and equal enjoyment of the goods,

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  Plaintiff does not “prefer” curb side service, but believes it is the most reasonable accommodation under the
circumstances. Plaintiff would actually prefer to be able to obtain food like everyone else who is not disabled
without the requirement to wear a face covering.

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services,       facilities,   privileges,   advantages,       or   accommodations      of   any   public

accommodation.

          36.      Plaintiff is an individual with a disability within the meaning of the

ADA because Plaintiff has               a physical       and mental      impairment   that substantially

limits one or more of Plaintiff’s major life activities and systems as described

herein.

          37.      Plaintiff requested an accommodation from the face covering policy due to his

disability, to wit: providing curb side service. The request was reasonable as it was consistent

and in compliance with the State of Texas, the City of El Paso’s, and CDC’s mask orders and

guidelines.       Such accommodation would have allowed Plaintiff to enjoy full and equal

enjoyment of the food as provided to people who are not                               disabled and are

able to comply with the request to wear a covering without potentially subjecting

themselves to respiratory distress and/or other physical or mental injuries or ailments. This was

not Plaintiff’s preferred method, but the only reasonable accommodation Plaintiff could think of

under the circumstances, considering that Defendants offered no reasonable accommodation at

all. Furthermore, the method of distribution at this site is via a shopping cart that is loaded by

the volunteers and pushed to the recipients after identification is obtained. This method is mostly

conducted outside of the facility, for the most part is contactless and usually within a few feet

distance between the shopping cart and the individuals transacting. Plaintiff is not seeking

therefore to modify goods and services but to seek a reasonable accommodation.

          38.      Defendants       owns,     leases,        or    operates   a   place     of    public

accommodation within the meaning of the ADA because Defendants owns, leases,

or operates a food bank which provides for the sale of goods to members of the public.



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       39.     Defendants are in violation of the ADA because they discriminated against

Plaintiff on the basis of Plaintiff’s disability in the full and equal enjoyment of the goods,

facilities, privileges, advantages, or accommodations of the food bank Defendants operates,

because it denied Plaintiff the goods, services, facilities, privileges, advantages, and

accommodations of the food bank in the most integrated setting appropriate to Plaintiff’s needs,

because it refused him access to food, based on his disability.

       40.     Defendants’      policies   and    practices       have,     are,      and    will   cause

irreparable harm to the Plaintiff.

       41.     Plaintiff intends to continue to try to get food at the food pantry operated by

Defendants, and made the subject of this lawsuit, however, after being assaulted and mistreated

Plaintiff will need the Court’s intervention to ensure the Defendants’ compliance with the ADA.

       42.     Plaintiff did not pose a direct threat to the health or safety of others.

There was no significant risk to the health or safety of others that could not be

eliminated   by    a   modification   of   Defendants’    policies,       practices    and    procedures.

Social distancing and other safety precautions were in place at the “walk-up” food bank in

question, Plaintiff did not have Covid 19, and had no signs or symptoms of Covid 19, and the

state of Texas and City of El Paso’s order, guidelines, and CDC guidelines recognized the need

for a medical exception to the mask requirement. Defendants simply chose to disregard the

exception, despite the fact that they had no basis to conclude that Plaintiff was a direct threat to

the health or safety of others. Defendants made no individual assessment that considered

Plaintiff’s actual abilities or disabilities; instead, Defendants promulgated and adopted a broad

discriminatory policy based on generalizations and stereotypes.




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                                        Cause of Action – Assault

       43.     Plaintiff incorporates by reference the averments of Paragraphs 1- 42 of the

Complaint as if the same were set forth in full.

       44.     Defendant John Doe intentionally or knowingly subjected Plaintiff to harmful and

offensive physical contact and apprehension of imminent bodily harm without Plaintiff’s consent

and without justification, in furtherance of Defendants’ illegal policies procedures.

       45.     As a direct and proximate result of the aforementioned incident, Plaintiff suffered

the following damages:

                       (a) Mental anguish and emotional distress;

                       (b) Anxiety, embarrassment and humiliation;

                       (c)   Loss of the ordinary pleasures of life; and

                       (d) Suffering and inconvenience.

       46.     RESPONDEAT SUPERIOR:                     The Plaintiff was injured as the result of a

tort of assault. The tortfeasor, Defendant John Doe, was an employee of the Defendants. The

tort was committed while the employee was acting within the scope of employment – that is, the

act was (1) within the employee’s general authority, (2) in furtherance of the Defendant’s

business, and (3) for the accomplishment of the object for which the employee was hired.

                                              Prayer

       47.     For these reasons, Plaintiff requests that the court award him injunctive relief

requiring Defendants to accommodate Plaintiff by allowing him to obtain food without wearing a

face covering so that he may enjoy the benefits, privileges, goods, services facilities, advantages,

and accommodations including equal access to and enjoyment of the food bank operated by

Defendants in the future. To affect such relief to Plaintiff, it may be appropriate for the court to



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provide clear protocols to Defendants and their staff advising that persons who cannot wear a

face covering due to a disability must be accommodated. Defendants should be required to train

their staff about its legal obligations and to post and disseminate notice to all pertinent staff

regarding their legal obligations under the ADA.          Finally, Plaintiff will through discovery

attempt to obtain the identity of John Doe, but Plaintiff now requests that Defendant John Doe be

found liable to Plaintiff for assault and that appropriate Judgment be taken against Defendant

John Doe.

       WHEREFORE, Plaintiff seeks injunctive relief, actual damages, and reasonable attorney

fees, if any, including litigation expenses and the costs in this action.

                                               Respectfully submitted,



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                                              El Paso, TX 79913
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                                       Email: flexyourrights@outlook.com




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